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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

ANTWON J. REYNOLDS,                      )
                                         )
              Plaintiff,                 )
                                         )
       v.                                )      CASE NO. 1:20-CV-349-WKW
                                         )                [WO]
CRYSTAL SMITH-JAMES,                     )
et al.,                                  )
                                         )
              Defendants.                )

                                     ORDER

      On August 27, 2020, the Magistrate Judge filed a Recommendation to which

no timely objections have been filed. (Doc. # 7.) Upon an independent review of

the record, it is ORDERED that the Recommendation is ADOPTED and that

Plaintiff’s case is DISMISSED without prejudice for failure to prosecute and to

comply with the orders of this court. It is further ORDERED that Plaintiff’s motion

for preliminary injunction (Doc. # 1) is DENIED as moot. Final judgment will be

entered separately.

      DONE this 23rd day of September, 2020.


                                                   /s/ W. Keith Watkins
                                             UNITED STATES DISTRICT JUDGE
